Case:19-11935-JGR Doc#:13 Filed:04/03/19 Entered:04/03/19 16:23:25 Pagel of 35

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

In re: Case No: 19-11935 - JGR
RACHEL ELOISE GONSER,
Debtor

Chapter 7

COLORADO HOUSING AND FINANCE AUTHORITY
and its SUCCESSORS, ASSIGNS, SERVICERS,
TRUSTEES AND INVESTORS,

Creditor

vs.

RACHEL ELOISE GONSER and KEVIN P. KUBIE,
Trustee

Respondents

Motion For Relief From Stay

Comes now, COLORADO HOUSING AND FINANCE AUTHORITY, hereinafter “Movant”, by
and through its attorneys, JANEWAY LAW FIRM, P.C., and requests that this Court enter an Order For
Relief From Stay pursuant to 11 U.S.C. Section 362(d). As grounds for this Motion, Movant states:

1, Debtor filed this Bankruptcy petition on March 18, 2019.
2, Movant seeks to terminate the automatic stay as to Movant.
3, Debtor, RACHEL ELOISE GONSER AND NON-BANKRUPTCY CO-DEBTOR RICHARD

GLENN MCNEAL, III signed a Note for the benefit of Movant or Movant’s predecessors in
interest on the Note. Said Note was in the original amount of $186,558.00. Movant is in
possession of or otherwise entitled to enforce said Note.

4, Movant is a secured creditor by virtue of the Deed of Trust signed by Debtor RACHEL ELOISE
GONSER AND NON-BANKRUPTCY CO-DEBTOR RICHARD GLENN MCNEAL, III,

recorded in the County where the property is located on December 21, 2017 at reception number
217154042.

5. All rights and remedies under the Deed of Trust have been assigned to Movant pursuant to that
certain Assignment of Deed of Trust.

6. Attached are redacted copies of any documents that support the claim, such as promissory notes,
purchase orders, invoices, itemized statements of running accounts, contacts, judgments,
mortgages, loan modifications and security agreements in support of right to seek a lift of the
automatic stay and foreclosure if necessary. The copies were provided to counsel by Movant, or
obtained from public records.

, The property (hereinafter "Property") described in the Deed of Trust and the subject of this
Motion appears to be the Debtor’s principal residence:

LOT 1, BLOCK 26, JR MARKS SUBDIVISION OF BLOCKS 16, 25 AND 26, KNOB
HILL ADDITION, COUNTY OF EL PASO, STATE OF COLORADO
Case:19-11935-JGR Doc#:13 Filed:04/03/19 Entered:04/03/19 16:23:25 Page2 of 35

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17,

Purported Common Address: 2333 E WILLAMETTE AVE, COLORADO SPRINGS,
CO 80909

The current value of the property is approximately $186,208.00 pursuant to the assessor for the
County where the real property is located.
As of March 19, 2019, the unpaid principal balance of the Note is $184,505.52.

The current payment amount is $1,467.92 and includes principal, interest, taxes and insurance.

Debtor is in default pursuant to the terms of the Note and Deed of Trust by failure to make
payments as due. As of March 19, 2019 Debtor is currently in default of 5 payments, along with
other fees and charges. A payment history is provided. The approximate amount necessary to
cure the default that gave rise to this motion is estimated to be:

 

 

 

 

 

 

 

 

 

3 Payments at $1,372.33 $4,116.99
2 Payments at $1,467.92 $2,935.84
Late Fees $319.92
Property Inspections $42.00
Bankruptcy Attorney Fees & Costs $931.00
Estimated Total $8,345.75

 

An additional payment of $1,467.92 came due on April 1, 2019.
The loan was not active in foreclosure prior to the bankruptcy petition being filed.

To the best knowledge of the undersigned attorney, the Debtor has not recently requested a loan
modification.

The approximate payoff to Movant of the entire debt owed as of March 19, 2019 is estimated to
be:

 

 

 

 

 

 

 

 

 

 

 

Unpaid Principal Balance $184,505.52
Interest $4,324.07
Late Fees $319.92
(Suspense) ~$0.00
Property Inspections $42.00

PMI $127.04
Escrow Advance $1,735.35
Bankruptcy Attorney Fees & Costs $931.00
Estimated Total $191,984.90

 

Additional liens against the property include:

a. Colorado H&F/Dovenmu in the amount of $9,327.00 pursuant to Debtor's Schedules.

 

Movant has grounds for relief from stay pursuant to 11 U.S.C. § 362(d)(2). The property value,
for purposes of this motion, should be reduced by the foreclosure costs, subsequent resale costs,
and weighed against the increasing debt amount. See Jn re Mountain Side Holdings, Inc., 142
BR. 421, 423 (Bankr.D.Colo.1992) and In re Steffens, 275 B.R. 570, (Bankr.D.Colo2002) and In
re Dickinson, 185 B.R.76 (Bankr.D.Colo.1992). The Debtor has no measurable equity in the
Case:19-11935-JGR Doc#:13 Filed:04/03/19 Entered:04/03/19 16:23:25 Page3 of 35

property. The property is not necessary to an effective reorganization. Debtor’s case is a Chapter
7 liquidation, not reorganization.

18. In addition or in the alternative, Movant has cause for relief from stay pursuant to 362(d)(1).
Debtor has failed to make payments, and the increasing debt and the costs of obtaining and
liquidating the property, leave Movant without adequate protection. Debtor's default constitutes
cause for relief from stay pursuant to 362(d)(1).

19, As further relief sought by Creditor in this Motion, Creditor requests that this Court’s Order
granting relief from stay be effective immediately, and not stayed pursuant to F.R.B.P.
4001(a)(3).

If the notice filed herein regarding this motion specifies a hearing date more than 30 days from filing the
motion, Movant hereby waives its rights to have this matter heard sooner.

WHEREFORE, Movant requests this Court to enter an Order Granting Relief from Stay.

Dated: April 3, 2019
Attorneys for COLORADO HOUSING AND FINANCE AUTHORITY
OC? LAW FIRM, P.C.

( pe ol fe o. Se
Lynn M. Janeway #15592)
David R. Doughty #40042"
Elizabeth S. Marcus #16092

-Alison L. Berry #34531
Nicholas H. Santarelli #46592
9800 S. Meridian Blvd., Suite 400
Englewood, CO 80112
Phone: (303) 706-9990
Fax: (303) 706-9994
bankruptcy@janewaylaw.com
JLF No.: 19-021194
Case:19-11935-JGR Doc#:13 Filed:04/03/19 Entered:04/03/19 16:23:25 Page4 of 35

In re:
RACHEL ELOISE GONSER, XXX-XX-1014
RICHARD GLENN MCNEAL, UI, XXX-XX-3734

Case Number: 19-11935 JGR
Chapter: 7

AFFIDAVIT PURSUANT TO THE SERVICEMEMBER CIVIL RELIEF ACT OF 2003
I, Amanda Bishop, being of lawful age, first duly sworn, hereby state as follows:
I am over the age of 18 and am an employee of JANEWAY LAW FIRM, P.C,

On April 3, 2019, I, Amanda Bishop; performed a search on the Department of Defense Manpower Data
Center. Upon searching the information data banks of the Department of Defense Manpower Data Center
(DMDC), the DMDC does not possess any information indicating that the Debtor, RACHEL ELOISE
GONSER AND RICHARD GLENN MCNEAL, III, is currently on active duty as to all branches of the
Military.

 

 

Title: Paralegal

Subscribed and affirmed before me in Douglas County, State of Colorado on April 3, 2019.

Ke ¢ ollebeth,

(Notary's official signature)

Seal and Commission expiration date:

 

 

 

  
 
   
  
 

KAREN E KOTTE
 19- NOTARY F
JLF #: 19-021194 eTATE OF CO. 0}
NOTARY 1D 20
MY COMMISSION EXPIRE

      

13. 2020

 

 

 
Case:19-11935-JGR Doc#:13 Filed:04/03/19 Entered:04/03/19 16:23:25 Paged5d of 35

Department of Defense Manpower Data Center

 

SSN:

Birth Date:
Last Name:
First Name:

Middle Name:

Status As Of:

Certificate ID:

en dua dy eee ae
Status Ru

Pursuant to Servicernembers.

 

“ivil Relief Act

XXX-KX-1014

GONSER
RACHEL

ELOISE

Apr-03-2019
74FXLMSG3QUTHJH

Results as of : Apr-03-2019 05:51:29 PM

SCRA 4.10

 

On Active Duty On Active Duty Status Date

 

Active Duty Stari Date

Active Duty End Date Status

Service Compenent

 

NA

 

 

NA No

NA

 

 

This response refiects the individuals’ active duty status based on the Active Duty Status Date

 

 

Left Active Duty Within 367 Days of Active Duty Status Date

 

Actve Duty Start Date

Active Duty End Date Status

Service Component

 

NA

NA No

 

 

 

NA

 

This response reflects where the individual left active duty status within’367 days preceding the Active Duty Status Date

 

 

The Member or His/Her Unit Was Notified of a Future Cail-Up to Active Duty on Active Duty Status Date

 

Order NoSfication Start Date

Order Notification End Date Status

Service Component

 

NA

NA Ne

 

 

 

NA

 

 

This response reflects whether the individuia! or his/her unit has received early notification to report for active duty

 

 

Upon searching the data banks of the Department of Defense Manpower Data Center, based on the information that you provided, the above is the status of
the individual on the active duty status date as to all branches of the Uniformed Services (Army, Navy, Marine Corps, Air Force, NOAA, Public Health, and
Coast Guard). This status includes information on a Servicemember or his/her unit receiving notification of future orders to report for Active Duty.

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Michael V. Sorrento, Director
Department of Defense - Manpower Data Center

400 Gigling Rd.
Seaside, CA 93955
Case:19-11935-JGR Doc#:13 Filed:04/03/19 Entered:04/03/19 16:23:25 Pageé of 35
Department of Defense Manpower Data Center __ Results as of : Apr-05-2019 05:61:05 PM

SCRA 4.10

Shatus Rueport
Pursuant to Servicemembers Civil Relief Act

 

SSN: XXX-KXK-3734

Birth Date:

Last Name: MCNEAL.

First Name: RICHARD

Middle Name: GLENN

Status As Of: — Apr-03-2019
Certificate ID: BJ9SRK65DZXN6X2V

 

On Active Duty On Active Duty Status Date

 

Active Duty Start Date Active Duty End Date Status Service Component

 

 

 

 

NA NA No NA

 

This response reflects the individuals’ active duty status based on the Active Duty Status Date

 

 

  

 

 

Left Active Duty Within 367 Days of Active Duty Status Date
Active Duty Stari Date Active Buty End Date Status Service Component
NA NA No NA

 

 

 

 

This response reflects where the individual left active ditty. status within’367 days preceding the Active Duty Status Date

 

 

The Member or His/Her Unit Was Notified of @ Future Call-Up to Active Duty an Active Duty Stetus Date

 

 

Oder Notification Stari Date Order Notiication End Date Status Service Component
NA NA Ne NA

 

 

 

 

 

 

This response reflects whether the individua! or his/her unit has received early notification to report for active duty

 

Upon searching the data banks of the Department of Defense Manpower Data Center, based on the information that you provided, the above is the status of
the individual on the active duty status date as to all branches of the Uniformed Services (Army, Navy, Marine Corps, Air Force, NOAA, Public Health, and
Coast Guard). This status includes information on a Servicemember or his/her unit receiving notification of future orders to report for Active Duty.

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Michael V. Sorrento, Director

Department of Defense - Manpower Data Center
400 Gigling Rd.

Seaside, CA 93955
Case:19-11935-JGR Doc#:13 Filed:04/03/19 Entered:04/03/19 16:23:25 Page7 of 35

UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF COLORADO

In re: Case No: 19-11935 - JGR
RACHEL ELOISE GONSER,
Debtor

Chapter 7

COLORADO HOUSING AND FINANCE AUTHORITY
and its SUCCESSORS, ASSIGNS, SERVICERS,
TRUSTEES AND INVESTORS,

Creditor

VS.

RACHEL ELOISE GONSER and KEVIN P. KUBIE,
Trustee

Respondents

NOTICE OF MOTION FOR RELIEF FROM STAY
AND OPPORTUNITY FOR HEARING PURSUANT TO 11 U.S.C. § 362(d)
OBJECTION DEADLINE: April 23, 2019

YOU ARE HEREBY NOTIFIED that a Motion for Relief from Stay has been filed, a copy of
which is attached hereto.

A hearing on the Motion has been set for April 30, 2019 at 9:30 A.M. at the U.S. Custom
House, 721 19" Street, in COURTROOM B, Denver, Colorado 80202-2508. The hearing will be
conducted in accordance with the provisions of Local Bankruptcy Rule 4001-1.

IF YOU DESIRE TO OPPOSE THIS MOTION, you must file with this court a WRITTEN
OBJECTION to the motion on or before the objection deadline stated above and serve a copy upon
Movant's attorney, whose address is listed below.

If you file an objection, you are REQUIRED to comply with L.B.R. 4001-1 regarding hearing
procedures, including (1) the timely submission and exchange of witness lists and exhibits and (2)
attendance at the above-scheduled hearing in person or through counsel, if represented.

IF YOU FAIL TO FILE AN OBJECTION, the scheduled hearing will be vacated, and an
order granting the relief requested may be granted without further notice to you.
Dated: April 3, 2019
Janeway Law Firm, P.cC.
Ajtomeys for COLORADO HOUSING AND FINANCE AUTHORITY
on

LV ot Poe.

Lynn M. Janeway #1 559Y\

David R. Doughty #40042...

Elizabeth S. Marcus #16092

Alison L. Berry #34531

Nicholas H. Santarelli #46592

9800 S. Meridian Blvd., Suite 400

Englewood, CO 80112

Phone: (303) 706-9990 Fax: (303) 706-9994
bankruptcy@janewaylaw.comJLF No.: 19-021194
Case:19-11935-JGR Doc#:13 Filed:04/03/19 Entered:04/03/19 16:23:25 Pages of 35

Certificate of Service

The undersigned hereby certifies that on April 3, 2019 a copy of the attached Notice of Hearing or
Preliminary Hearing with a copy of the Motion for Relief from Stay was deposited into U.S. mail in an
envelope with prepaid, first class postage and addressed as follows:

RACHEL ELOISE GONSER
2333 E. WILLAMETTE AVE.
COLORADO SPRINGS, CO 80909

TODD WAGNER

3969 E. ARAPAHOE RD.
STE. 200

CENTENNIAL, CO 80122

US TRUSTEE
PAPER COPY NOT MAILED PURSUANT TO L.B.R. 4001-1

KEVIN P. KUBIE

PO BOX 8928 )
PUEBLO, CO 81008-8928 a
App 4

KML F

 

 

Amanda Bishop ZA
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NOTE

DECEMBER 19, 2017 Houston TEXAS
[Date] [City] [State]

2333 E Willamette Ave, Colorado Springs, Colorado 80909
[Property Address]

1. BORROWER'S PROMISE TO PAY

In return for a loan that I have received, I promise to pay U.S. $186,558.00 (this amount is
called "Principal"), plus interest to the order of the Lender. The Lender is Envoy Mortgage, LTD,
Limited Partnership
I will make all payments under this Note in the form of cash, check or money order.

I understand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer and
who is entitled to receive payments under this Note is called the "Note Holder."

2. INTEREST

Interest will be charged on unpaid principal until the full amount of Principal has been paid. I will pay interest
at a yearly rate of 5.000 %.

The interest rate required by this Section 2 is the rate I will pay both before and after any default described in
Section 6(B) of this Note.

3. PAYMENTS

(A) Time and Place of Payments

I will pay principal and interest by making a payment every month.

I will make my monthly payment on the ist day of each month beginning on FEBRUARY 1 :
2018 . | will make these payments every month until I have paid all of the principal and interest and
any other charges described below that I may owe under this Note. Each monthly payment will be applied as of its
scheduled due date and will be applied to interest and other items in the order described in the Security Instrument
before Principal. If, on JANUARY 1, 2048 , I still owe amounts under this Note, I will pay those
amounts in full on that date, which is called the "Maturity Date."

I will make my monthly payments at P.O. Box 660101, Dallas, Texas 75266-0101

or at a different place if required by the Note Holder.
(B) Amount of Monthly Payments
My monthly payment will be in the amount of U.S.$ 1,001.48

4. BORROWER'S RIGHT TO PREPAY

I have the right to make payments of Principal at any time before they are due. A payment of Principal only is
known as a "Prepayment." When I make a Prepayment, I will tell the Note Holder in writing that I am doing so. I
may not designate a payment as a Prepayment if I have not made all the monthly payments due under the Note.

I may make a full Prepayment or partial Prepayments without paying a Prepayment charge. The Note Holder
will use my Prepayments to reduce the amount of Principal that I owe under this Note. However, the Note Holder
may apply my Prepayment to any accrued and unpaid interest on the Prepayment amount before applying my

 

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Case:19-11935-JGR Doc#:13 Filed:04/03/19 Entered:0 f 35

 
 

Prepayment to reduce the Principal amount of the Note. If I make a partial Prepayment, there will be no changes in
the due date or in the amount of my monthly payment unless the Note Holder agrees in writing to those changes.

5. LOAN CHARGES

If a law, which applies to this loan and which sets maximum loan charges, is finally interpreted so that the
interest or other loan charges collected or to be collected in connection with this loan exceed the permitted limits,
then: (a) any such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit;
and (b) any sums already collected from me which exceeded permitted limits will be refunded to me. The Note Holder
may choose to make this refund by reducing the Principal ] owe under this Note or by making a direct payment to
me. If a refund reduces Principal, the reduction will be treated as a partial Prepayment.

6. BORROWER'S FAILURE TO PAY AS REQUIRED

(A) Late Charge for Overdue Payments

If the Note Holder has not received the full amount of any monthly payment by the end of 15 calendar
days after the date it is due, I will pay a late charge to the Note Holder. The amount of the charge will be

4.000 % of the overdue payment ofPrincipal and Interest (P&I). I will pay this late charge promptly

but only once on each late payment.

(B) Default

If I do not pay the full amount of each monthly payment on the date it is due, I will be in default.

(C) Notice of Default

If I am in default, the Note Holder may send me a written notice telling me that if I do not pay the overdue
amount by a certain date, the Note Holder may require me to pay immediately the full amount of Principal which has
not been paid and all the interest that I owe on that amount. That date must be at least 30 days after the date on which
the notice is mailed to me or delivered by other means.

(D) No Waiver By Note Holder

Even if, at a time when I am in default, the Note Holder does not require me to pay immediately in full as
described above, the Note Holder will still have the right to do so if I am in default at a later time.

(E) Payment of Note Holder's Costs and Expenses

If the Note Holder has required me to pay immediately in full as described above, the Note Holder will have
the right to be paid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by
applicable law. Those expenses include, for example, reasonable attorneys’ fees.

7. GIVING OF NOTICES

Unless applicable law requires a different method, any notice that must be given to me under this Note will be
given by delivering it or by mailing it by first class mail to me at the Property Address above or at a different address
if I give the Note Holder a notice of my different address.

Any notice that must be given to the Note Holder under this Note will be given by delivering it or by mailing
it by first class mail to the Note Holder at the address stated in Section 3(A) above or at a different address if I am
given a notice of that different address.

8. OBLIGATIONS OF PERSONS UNDER THIS NOTE

If more than one person signs this Note, each person is fully and personally obligated to keep all of the promises
made in this Note, including the promise to pay the full amount owed. Any person who is a guarantor, surety or
endorser of this Note is also obligated to do these things. Any person who takes over these obligations, including the
obligations of a guarantor, surety or endorser of this Note, is also obligated to keep all of the promises made in this
Note. The Note Holder may enforce its rights under this Note against each person individually or against all of us
together. This means that any one of us may be required to pay all of the amounts owed under this Note.

 

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9. WAIVERS

I and any other person who has obligations under this Note waive the rights of Presentment and Notice of
Dishonor. "Presentment" means the right to require the Note Holder to demand payment of amounts due. "Notice of
Dishonor" means the right to require the Note Holder to give notice to other persons that amounts due have not been
paid.

10. UNIFORM SECURED NOTE

This Note is a uniform instrument with limited variations in some jurisdictions. In addition to the protections
given to the Note Holder under this Note, a Mortgage, Deed of Trust, or Security Deed (the "Security Instrument"),
dated the same date as this Note, protects the Note Holder from possible losses which might result if I do not keep
the promises which I make in this Note. That Security Instrument describes how and under what conditions I may be
required to make immediate payment in full of all amounts I owe under this Note. Some of those conditions are
described as follows:

If alt or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower
is not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior
written consent, Lender may require immediate payment in full of all sums secured by this Security
Instrument. However, this option shall not be exercised by Lender if such exercise is prohibited by
Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall
provide a period of not less than 30 days from the date the notice is given in accordance with Section 15
within which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay
these sums prior to the expiration of this period, Lender may invoke any remedies permitted by this
Security Instrument without further notice or demand on Borrower.

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MULTISTATE FHA FIXED RATE NOTE DocMagic GForms
USFHANTE 06/14/16 Page 3 of 4 www.docmagic.com
€ase:19-11935-JGR Doc#:13 Filed:04/03/19 —_— of 35

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED.

Richard Glenn McNeal III

 

 

 

 

 

: (Seal)
-Borrower Rachel Eloise Gonser -Borrower
(Seal) (Seal)
-Borrower -Borrower
(Seal) (Seal)
-Borrower -Borrower

[Sign Original Only]
Loan Originator: Beverly Creswell, NMLSR ID 301804

Loan Originator Organization: Envoy Mortgage, Ltd., NMLSR ID 6666

PAY TO THE ORDER OF .
WITHOUT RECOURSE Colorado Housing an
ENYOY WOnTeae et Finance Authority
Limited Partnership 4

—, fo
BY: € |p Aten A A =—
| James Bay
ITS: j CEO =
(Pfinted Name and Title)

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PAY TO THE ORDER OF

WITHOUT RECOURSE
COLORADO HOUS{NG AND FINANCE AUTHORITY

 

hn Ratcliff
Secondgry Marketing Manager
Case:19-

 
 

217154042 12/21/2017 10:18 AM
PGS 10 $58.00 DF $0.00
Electronically Recorded Official Records El Paso County CO

Shuck Broerman, Clerk and Recorder

TO100G =ON
After Recording Return To:
Envoy Mortgage, LID.
5100 Westheimer Rd., Ste. 320
Houston, Tex 77056
Loan Number:
[Space Above This Line For 1g Gata]

 

[Sas Gage Nos DEED OF TRUST
ww: MERS Phone: 888-679-6377

DEFINITIONS

Words used in multiple soctions of this document are defined below and other words are defined in Sections 3, 10,
12,17, 19 and 20. Certain rules regarding the usage of words uacd ir this document are also provided in Section 15.

(A) “Security Instrurgent means this document, which is daed DECEMBER 19, 2017 , together
with all Riders to this document.
(B) "Borrower" is Richard Glenn McNeal III an unmarried man, and Rachel Eloise

 

Gonser an unmarried woman, Louk era % £5 é ix 4 m,
as +eNants in Common ee

Borrower is the trustor under this Security Instrument.
{C) "Lender" is Envoy Mortgage, LTD

Lender isa LIMITED PARTNERSHIP organized
and existing under the laws of TEXAS
Lender's address is 5100 Westheimer Rd., Ste. 320, Houston, Texas 77056

(DB) "Trustee" is the Public Trustee of £2 Paso County, Colorado.
{E} "MERS" is Mortgage Electronic Registration Systems, Inc, MERS is a separate corporation that is acting
solely as a nominee for Lender and Lender's successors and assigns. MERS is the beneficlary under this Security
Instrument. MERS is organized and existing under the laws of Delaware, and has an address and telephone number
of P.O. Box 2026, Flint, MI 48501-2026, tel. (888) 679-MERS.

(F) "Note" means the promissory note signed by Borrower and dated DECEMBER 19, 2017

The Note states that Borrower owes Lender ONE HUNDRED EIGHTY-SiX THOUSAND FIVE HUNDRED
FIFTY-EIGHT AND 00/100 Dollars (U.S.$ 186,558.00

plus interest. Borrower bas promised to pay this debt in regular Periodic Payments and to pay the debt in full oot later
than JANUARY 1, 2048 A

(G) “Property meaus the property that is described below under the beading "Transfer of Rights in the Property."
GD "Loan" means the debt evidenced by the Note, plus interest, late charges due under the Note, and all sums due
under this Security Instrument, pius interest.

()  "Ridera” means all Riders to this Security Instrument that are executed by Borrower. The following Riders are
to be executed by Borrower [check box as applicable}:

7] Adjustable Rate Rider C1} Planned Unit Development Rider
(1 Condominium Rider (Gj Other(s) {specify}

() “Applteable Law" means all controlling applicable federal, state and local statutes, regulations, ordinances and
administrative rules and orders (that have the effect of law) as well as all applicable final, non-appealable judicial
opinions.

(K) “Community Association Dues, Fees, and Assessmenta” means all dues, fees, assessments and other charges

 

 

that are imposed on Borrower or the Property by a condamini F s ion or similar
organization.
COLORADO FHA DEED OF TRUST - MERS 7 DocBapie

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After Recording Return To:

Envoy Mortgage, LTD. oat
5100 Westheimer Rd., Ste. 320

Houston, Texas 77056

Loan Number:

   

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ee DEED OF TRUST
MIN: | —siSY MERS Phone: 888-679-6377

DEFINITIONS

Words used in multiple sections of this document are defined below and other words are defined in Sections 3, 10,
12, 17, 19 and 20. Certain rules regarding the usage of words used in this document are also provided in Section 15.

(A) "Security Instrument" means this document, which is dated DECEMBER 19, 2017 , together
with all Riders to this document.
(B) "Borrower" is Richard Glenn McNeal III an unmarried man, and Rachel Eloise

Gonser an unmarried woman, a@@enlodtre—Berren>res Witt Rete —-oL SOS
as +enants in Common earn

Borrower is the trustor under this Security Instrument.
(C) "Lender" is Envoy Mortgage, LTD

 

Lender isa LIMITED PARTNERSHIP organized
and existing under the laws of TEXAS
Lender's address is 5100 Westheimer Rd., Ste. 32%, Housten, Texas 77056

(D) "Trustee" is the Public Trustee of El Paso County, Colorado.
(E) "MERS" is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation that is acting
solely as a nominee for Lender and Lender's successors and assigns. MERS is the beneficiary under this Security
Instrument. MERS is organized and existing under the laws of Delaware, and has an address and telephone number
of P.O. Box 2026, Flint, MI 48501-2026, tel. (888) 679-MERS.

(F) "Note" means the promissory note signed by Borrower and dated DECEMBER 19, 2017

The Note states that Borrower owes Lender ONE HUNDRED EIGHTY-SIX THOUSAND FIVE HUNDRED
FIFTY-EIGHT AND 00/100 Doilars (U.S.$ 186,558.00

plus interest. Borrower has promised to pay this debt in regular Periodic Payments and to pay the debt in full not later
than JANUARY 1, 2048

(G) “Property” means the property that is described below under the heading "Transfer of Rights in the Property."
(H) "Loan" means the debt evidenced by the Note, plus interest, late charges due under the Note, and all sums due
under this Security Instrument, plus interest.

(1) "Riders" means all Riders to this Security Instrument that are executed by Borrower. The following Riders are
to be executed by Borrower [check box as applicable]:

(-) Adjustable Rate Rider (.} Planned Unit Development Rider
(1 Condominium Rider (J Other(s) [specify}

() “Applicable Law" means all controlling applicable federal, state and local statutes, regulations, ordinances and
administrative rules and orders (that have the effect of law) as well as all applicable final, non-appealable judicial
opinions.

(K) "Community Association Dues, Fees, and Assessments" means all dues, fees, assessments and other charges
that are imposed on Borrower or the Property by a condominium association, homeowners association or similar
organization.

 

 

COLORADO FHA DEED OF TRUST - MERS DocM @Formes
CODOTZ2.FHA 09/14/15 Page 4 of 10 PO cabiccon

 
Case:19-11935-JGR Doc#:13 Filed:04/03/19 Entered:04/03/19 16:23:25 Pagei6 of 35

(L) "Electronic Funds Transfer" means aly transfer of funds, other than a transaction originated by check, draft,
or similar paper instrument, which 1s initiated through an electronic terminal, telephonic mstrument, computer, or
magnetic tape so as to order, instruct, or authorize a financial mstitution to debit or credit an account Such term
includes, but 1s not limited to, point-of-sale transfers, automated teller machine transactions, transfers imtiated by
telephone, wire transfers, and automated clearinghouse transfers

(M) "Escrow Items" means those ttems that are described in Section 3

(N) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid by any
third party (other than insurance proceeds paid under the coverages described in Section 5) for (1) damage to, or
destruction of, the Property, (11) condemnation or other taking of all or any part of the Property, (1) conveyance in
lieu of condemnation, or (iv) misrepresentations of, or omissions as to, the value and/or condition of the Property

(O) "Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on, the Loan

(P) "Periodic Payment" means the regularly scheduled amount due for (1) principal and interest under the Note,
plus (11) any amounts under Section 3 of this Security Instrument

(Q) "RESPA" means the Real Estate Settlement Procedures Act (12 US C §2601 et seq ) and its implementing
regulation, Regulation X (12 C F R_ Part 1024), as they might be amended from time to time, or any additional or
successor legislation or regulation that governs the same subject matter As used in this Secursty Instrument, "RESPA"
refers to all requirements and restrictions that are imposed in regard to a “federally related mortgage loan” even if the
Loan does not qualify as a "federally related mortgage loan" under RESPA ‘

(R) "Secretary" means the Secretary of the United States Department of Housing and Urban Development or his
designee

(S) “Successor in Interest of Borrower" means any party that has taken title to the Property, whether or not that
party has assumed Borrower's obligations under the Note and/or this Security Instrument

TRANSFER OF RIGHTS IN THE PROPERTY

The beneficiary of this Security Instrument 1s MERS (solely as nomince for Lender and Lender's successors and
assigns) and the successors and assigns of MERS This Security Instrument secures to Lender (1) the repayment of
the Loan, and all renewals, extensions and modifications of the Note, and (11) the performance of Borrower's
covenants and agreements under this Security Instrument and the Note For this purpose, Borrower, in consideration
of the debt and the trust herein created, does hereby mortgage, grant and convey to Trustee, in trust, with power of
sale, the following described property located in the
COUNTY of El Paso

[Type of Recording Jurisdiction] (Name of Recording Jurisdiction]
Lot 1, Block 26, J.R Marks Subdivision of Blocks 16, 25 and 26, Knob Hill
Addition, County of El Paso, State of Colorado

which currently has the address of 2333 E Willamette Ave
[Strect]
Colorado Springs , Colorado 80909 ("Property Address")
[City] {Zp Code)

TOGETHER WITH all the improvements now or hereafter erected on the property, and all easements,
appurtenances, and fixtures now or hereafter a part of the property All replacements and additions shall also be
covered by this Security Instrument All of the foregoing 1s referred to in this Security Instrument as the "Property "
Borrower understands and agrees that MERS holds only legal title to the interests granted by Borrower in this Security
Instrument, but, 1f necessary to comply with law or custom, MERS (as nominee for Lender and Lender's successors
and assigns) has the right to exercise any or all of those interests, including, but not limited to, the right to foreclose
and sell the Property, and to take any action required of Lender including, but not limited to, releasing and canceling
this Security Instrument

BORROWER COVENANTS that Borrower 1s lawfully seised of the estate hereby conveyed and has the right
to mortgage, grant and convey the Property and that the Property 1s unencumbered, except for encumbrances of
record Borrower warrants and will defend generally the title to the Property against all claims and demands, subject
to any encumbrances of record and liens for taxes for the current year not yet due and payable

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform covenants with
limited variations by jurisdiction to constitute a uniform security instrument covering real property

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COLORADO FHA DEED OF TRUST - MERS DocMagic @Farms
CODOTZ2 FHA 09/14/15 Page 2 of 10 www deemagic com
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Case:19-11935-JGR Doc#:13 Filed:04/03/19 Entered:04/03/19 16:23:25 Page17 of 35

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows

1, Payment of Principal, Interest, Escrow Items, and Late Charges. Borrower shall pay when due the
principal of, and interest on, the debt evidenced by the Note and late charges due under the Note Borrower shall also
pay funds for Escrow Items pursuant to Section 3 Payments due under the Note and this Security Instrument shall
be made in U S currency However, if any check or other instrument received by Lender as payment under the Note
or this Security Instrument ts returned to Lender unpaid, Lender may require that any or all subsequent payments due
under the Note and this Security Instrument be made in one or more of the followmg forms, as selected by Lender
(a) cash, (b) money order, (c) certified check, bank check, treasurer's check or cashier's check, provided any such
check 1s drawn upon an institution whose deposits are insured by a federal agency, instrumentality, or entity, or (d)
Electronic Funds Transfer

Payments are deemed recerved by Lender when received at the location designated in the Note or at such other
location as may be designated by Lender tn accordance with the notice provisions in Section 14 Lender may return
any payment or partial payment if the payment or partial payments are insufficient to bring the Loan current Lender
may accept any payment or partial payment insufficient to bring the Loan current, without waiver of any rights
hereunder or prejudice to its rights to refuse such payment or partial payments in the future, but Lender is not
obligated to apply such payments at the time such payments are accepted If each Periodic Payment is applied as of
its scheduled due date, then Lender need not pay interest on unapphied funds Lender may hold such unapplied funds
until Borrower makes payment to bring the Loan current If Borrower does not do so within a reasonable period of
time, Lender shall either apply such funds or return them to Borrower If not applied earlier, such funds will be
applied to the outstanding principal balance under the Note immediately prior to foreclosure No offset or claim which
Borrower might have now or 1n the future against Lender shall relieve Borrower from making payments due under
the Note and this Security Instrument or performing the covenants and agreements secured by this Security Instrument

2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all payments
accepted and applied by Lender shall be applied in the following order of priority

First, to the Mortgage Insurance premiums to be paid by Lender to the Secretary or the monthly charge by the
Secretary instead of the monthly mortgage insurance premiums,

Second, to any taxes, special assessments, leasehold payments or ground rents, and fire, flood and other hazard
insurance premiums, as required,

Third, to interest due under the Note,

Fourth, to amortization of the principal of the Note, and, Fifth, to late charges due under the Note

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the Note
shall not extend or postpone the due date, or change the amount of the Periodic Payments

3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under the
Note, until the Note 1s paid in full, a sum (the "Funds") to provide for payment of amounts due for (a) taxes and
assessments and other items which can attain priority over this Security Instrument as a licn or encumbrance on the
Property, (b) leasehold payments or ground rents on the Property, 1f any, (c) prerriums for any and all insurance
required by Lender under Section 5, and (d) Mortgage Insurance premiums to be paid by Lender to the Secretary or
the monthly charge by the Secretary instead of the monthly Mortgage Insurance premiums These items are called
"Escrow Items " At origination or at any time during the term of the Loan, Lender may require that Community
Association Dues, Fees, and Assessments, 1f any, be escrowed by Borrower, and such dues, fees and assessments shall
be an Escrow Item Borrower shall promptly furnish to Lender all notices of amounts to be paid under this Section
Borrower shall pay Lender the Funds for Escrow Items unless Lender waives Borrower's obligation to pay the Funds

: for any or all Escrow Items Lender may waive Borrower's obligation to pay to Lender Funds for any or all Escrow
Items at any ttme Any such waiver may only be in writing In the event of such waiver, Borrower shall pay directly,
when and where payable, the amounts due for any Escrow Items for which payment of Funds has been waived by
Lender and, 1f Lender requires, shall furnish to Lender receipts evidencing such payment within such time period as
Lender may require Borrower's obligation to make such payments and to provide receipts shall for all purposes be
deemed to be a covenant and agreement contained 1n this Security Instrument, as the phrase "covenant and agreement"
1s used in Section 9 If Borrower 1s obligated to pay Escrow Items directly, pursuant to a waiver, and Borrower fails
to pay the amount due for an Escrow Item, Lender may exercise its rights under Section 9 and pay such amount and
Borrower shall then be obligated under Section 9 to repay to Lender any such amount Lender may revoke the waiver
as to any or all Escrow Items at any time by a notice given in accordance with Section 14 and, upon such revocation,
Borrower shall pay to Lender all Funds, and in such amounts, that are then required under this Section 3

Lender may, at any me, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the Funds
at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can require under RESPA
Lender shall estimate the amount of Funds due on the basis of current data and reasonable estimates of expenditures
of future Escrow Items or otherwise in accordance with Applicable Law

The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality, or
entity (including Lender, if Lender 1s an institution whose deposits are so insured) or in any Federal Home Loan
Bank Lender shali apply the Funds to pay the Escrow Items no later than the time specified under RESPA Lender
shall not charge Borrower for holding and applying the Funds, annually analyzing the escrow account, or verifying
the Escrow Items, unless Lender pays Borrower interest on the Funds and Applicable Law permits Lender to make
such a charge Unless an agreement 1s made in writing or Applicable Law requires interest to be paid on the Funds,
Lender shall not be required to pay Borrower any interest or earnings on the Funds Borrower and Lender can agree
in writing, however, that interest shall be paid on the Funds Lender shall give to Borrower, without charge, an annual
accounting of the Funds as required by RESPA

If there 1s a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower for
the excess funds in accordance with RESPA If there is a shortage of Funds held in escrow, as defined under RESPA,

 

COLORADO FHA DEED OF TRUST - MERS DocMagic CForms
CODOTZ2 FHA 09/14/15 Page 3 of 10 www docmagic com

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Case:19-11935-JGR Doc#:13 Filed:04/03/19 Entered:04/03/19 16:23:25 Page18 of 35

Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make
up the shortage in accordance with RESPA, but in no more than 12 monthly payments If there 1s a deficiency of
Funds held in escrow, as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower
shall pay to Lender the amount necessary to make up the deficiency in accordance with RESPA, but in no more than
12 monthly payments

Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund to Borrower
any Funds held by Lender

4, Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions attributable to
the Property which can attain priority over this Security Instrument, leasehold payments or ground rents on the
Property, if any, and Community Association Dues, Fees, and Assessments, ifany To the extent that these items are
Escrow Items, Borrower shall pay them in the manner provided in Section 3

Borrower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower
(a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to Lender, but only
so long as Borrower 1s performing such agreement, (b) contests the lien in good faith by, or defends against
enforcement of the lien in, legal proceedings which in Lender's opinion operate to prevent the enforcement of the lien
while those proceedings are pending, but only until such proceedings are concluded, or (c) secures from the holder
of the lien an agreement satisfactory to Lender subordinating the lien to this Security Instrument IfLender determines
that any part of the Property 1s subject to a en which can attain priority over this Security Instrument, Lender may
give Borrower a notice identifying the lien Within 10 days of the date on which that notice 1s given, Borrower shall
satisfy the lien or take one or more of the actions set forth above in this Section 4

5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the
Property insured against loss by fire, hazards included within the term “extended coverage,” and any other hazards
including, but not limited to, earthquakes and floods, for which Lender requires insurance This insurance shall be
maintained in the amounts (including deductible levels) and for the periods that Lender requires What Lender requires
pursuant to the preceding sentences can change during the term of the Loan The insurance carrier providing the
msurance shall be chosen by Borrower subject to Lender's right to disapprove Borrower's choice, which right shall
not be exercised unreasonably Lender may require Borrower to pay, in connection with this Loan, either (a) a
one-time charge for flood zone determination, certification and tracking services, or (b) a one-time charge for flood
zone determination and certification services and subsequent charges each time remappings or similar changes occur
which reasonably might affect such determination or certification Borrower shall also be responsible for the payment
of any fees imposed by the Federal Emergency Management Agency tn connection with the review of any flood zone
determination resulting from an objection by Borrower

If Borrower fails to maintain any of the coverages described above, Lender may obtaim insurance coverage, at
Lender's option and Borrower's expense Lender 1s under no obligation to purchase any particular type or amount
of coverage Therefore, such coverage shall cover Lender, but might or might not protect Borrower, Borrower's
equity in the Property, or the contents of the Property, against any risk, hazard or liability and might provide greater
or lesser coverage than was previously in effect Bcrrower ackno'vledges that the cost of the insurance coverage so
obtained might significantly exceed the cost of insurance that Borrower could have obtained Any amounts disbursed
by Lender under this Section 5 shall become additional debt of Borrower secured by this Security Instrument These
amounts shall bear interest at the Note rate from the date of disbursement and shall be payable, with such interest,
upon notice from Lender to Borrower requesting payment

All insurance policies required by Lender and renewals of such policies shall be subject to Lender's right to
disapprove such policies, shall include a standard mortgage clause, and shall name Lender as mortgagee and/or as
additional loss payee Lender shall have the right to hold the policies and renewal certificates If Lender requires,
Borrower shall promptly give to Lender all receipts of paid premiums and renewal notices If Borrower obtains any
form of insurance coverage, not otherwise required by Lender, for damage to, or destruction of, the Property, such
policy shall include a standard mortgage clause and shall name Lendcr as mortgagee and/or as an additional loss
payee

In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender Lender may make
proof of loss 1f not made promptly by Borrower Unless Lender and Borrower otherwise agree in writing, any
insurance proceeds, whether or not the underlying insurance was required by Lender, shall be applied to restoration
or repair of the Property, 1f the restoration or repair is economically feasible and Lender's security is not lessened
During such repair and restoration period, Lender shall have the right to hold such msurance proceeds until Lender
has had an opportunity to inspect such Property to ensure the work has been completed to Lender's satisfaction,
provided that such inspection shall be undertaken promptly Lender may disburse proceeds for the repairs and
restoration in a single payment or in a series of progress payments as the work 1s completed Unless an agreement is
made in writing or Applicable Law requires interest to be paid on such insurance proceeds, Lender shall not be
required to pay Borrower any interest or earnings on such proceeds Fees for public adjusters, or other third parties,
retained by Borrower shall not be paid out of the msurance proceeds and shall be the sole obligation of Borrower If
the restoration or repair 1s not economically feasible or Lender's security would be lessened, the insurance proceeds
shall be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid
to Borrower Such insurance proceeds shall be applied in the order provided for in Section 2

If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim and
related matters If Borrower does not respond within 30 days to a notice from Lender that the msurance carrier has
offered to settle a claim, then Lender may negotuate and settle the clam The 30-day period will begin when the notice
1s given In either event, or if Lender acquires the Property under Section 22 or otherwise, Borrower hereby assigns
to Lender (a) Borrower's rights to any insurance proceeds in an amount not to exceed the amounts unpaid under the
Note or this Security Instrument, and (b) any other of Borrower's rights (other than the right to any refund of
unearned premiums paid by Borrower) under all insurance policies covering the Property, insofar as such nights are

 

COLORADO FHA DEED OF TRUST - MERS DocMagic EFarms
CODOTZ2 FHA 09/14/15 Page 4 of 10 www.docmagic com
Case:19-11935-JGR Doc#:13 Filed:04/03/19 Entered:04/03/19 16:23:25 Page19 of 35

applicable to the coverage of the Property Lender may use the insurance proceeds either to repair or restore the
Property or to pay amounts unpaid under the Note or this Security Instrument, whether or not then due

6, Occupancy, Borrower shall occupy, establish, and use the Property as Borrower's princrpal residence within
60 days after the execution of this Security Instrument and shall continue to occupy the Property as Borrower's
principal residence for at least one year after the date of occupancy, unless Lender determines that this requirement
shall cause undue hardship for the Borrower or unless extenuating circumstances exist which are beyond Borrower's
control

7, Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not destroy,
damage or impair the Property, allow the Property to deteriorate or commit waste on the Property Borrower shall
mamtain the Property in order to prevent the Property from deteriorating or decreasing in valuc due to its condition
Unless it 1s determined pursuant to Section 5 that repair or restoration 1s not economically feasible, Borrower shall
promptly repair the Property sf damaged to avoid further deterioration or damage If insurance or condemnation
proceeds are paid in connection with damage to the Property, Borrower shall be responsible for repairing or restoring
the Property only 1f Lender has released proceeds for such purposes Lender may disburse proceeds for the repairs
and restoration in a single payment or in a series of progress payments as the work 1s completed If the insurance or
condemnation proceeds are not sufficient to repair or restore the Property, Borrower 1s not relieved of Borrower's
obligation for the completion of such repair or restoration

If condemnation proceeds are paid in connection with the taking of the property, Lender shall apply such
proceeds to the reduction of the mdebtedness under the Note and this Security Instrument, first to any delinquent
amounts, and then to payment of principal Any application of the proceeds to the principal shall not extend or
postpone the due date of the monthly payments or change the amount of such payments

Lender or its agent may make reasonable entries upon and inspections of the Property If1it has reasonable cause,
Lender may inspect the interior of the improvements on the Property Lender shall give Borrower notice at the time
of or prior to such an interior inspection specifying such reasonable cause

8. Borrower's Loan Application. Borrower shall be in default 1f, during the Loan application process,
Borrower or any persons or entities acting at the direction of Borrower or with Borrower's knowledge or consent gave
materially false, misleading, or accurate mformation or statements to Lender (or failed to provide Lender with
material information) in connection with the Loan Maternal representations include, but are not limited to,
representations concerning Borrower's occupancy of the Property as Borrower's principal residence

9. Protection of Lender's Interest in the Property and Rights Under this Security Instrument. If (a)
Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there 1s a legal
proceeding that might significantly affect Lender's interest in the Property and/or nghts under this Security Instrument
(such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for enforcement of a lien which may
attain priority over this Security Instrument or to enforce laws or regulations), or (c) Borrower has abandoned the
Property, then Lender may do and pay for whatever 1s reasonable or appropriate to protect Lender's interest in the
Property and rights under this Security Instrument, mcluding protecting and/or assessing the value of the Property,
and securing and/or repairing the Property Lender's actions can taclude, but ate nov limited to (a) paying any sums
secured by a lien which has priority over this Security Instrument, (b) appearing in court, and (c) paying reasonable
attorneys’ fees to protect its interest in the Property and/or rights under this Security Instrument, including its secured
position in a bankruptcy proceeding Securing the Property includes, but 1s not limited to, entermg the Property to
make repairs, change locks, replace or board up doors and windows, drain water from pipes, eliminate building or
other code violations or dangerous conditions, and have utilities turned on or off Although Lender may take action
under this Section 9, Lender does not have to do so and 1s not under any duty or obligation to do so It 1s agreed that
Lender incurs no liability for not taking any or all actions authorized under this Section 9

Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured by this
Security Instrument These amounts shall bear interest at the Note rate from the date of disbursement and shall be
payable, with such interest, upon notice from Lender to Borrower requesting payment

If this Security Instrument 1s on a leasehold, Borrower shall comply with all the provisions of the lease If
Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge unless Lender agrees to the
merger in writing

10. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby assigned to
and shall be paid to Lender

If the Property 1s damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the Property,
if the restoration or repair is economically feasible and Lender's security 1s not lessened During such repair and
restoration period, Lender shall have the right to hold such Miscellaneous Proceeds until Lender has had an
opportunity to inspect such Property to ensure the work has been completed to Lender's satisfaction, provided that
such inspection shall be undertaken promptly Lender may pay for the repairs and restoration 1n a single disbursement
or in a sertes of progress payments as the work is completed Unless an agreement is made in writing or Applicable
Law requires interest to be paid on such Miscellaneous Proceeds, Lender shall not be required to pay Borrower any
interest or earnings on such Miscellaneous Proceeds If the restoration or repair 1s not economically feasible or
Lender's security would be lessened, the Miscellaneous Proceeds shall be applied to the sums secured by this Security
Instrument, whether or not then due, with the excess, if any, paid to Borrower Such Miscellaneous Proceeds shall
be applied in the order provided for in Section 2

In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds shall be
applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid to
Borrower

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of
the Property immediately before the partial taking, destruction, or loss in value 1s equal to or greater than the amount
of the sums secured by this Security Instrument immediately before the partial taking, destruction, or loss 1n value,

 

COLORADO FHA DEED OF TRUST - MERS DocMagic CPorms
CODOTZ2 FHA 09/14/15 Page 5 of 10 www dormagic com
Case:19-11935-JGR Doc#:13 Filed:04/03/19 Entered:04/03/19 16:23:25 Page20 of 35

unless Borrower and Lender otherwise agree in writing, the sums secured by this Security Instrument shall be reduced
by the amount of the Miscellaneous Proceeds multiplied by the following fraction (a) the total amount of the sums
secured immediately before the partial taking, destruction, or loss in value divided by (b) the fair market value of the
Property immediately before the partial taking, destruction, or loss in value Any balance shall be paid to Borrower

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of
the Property immediately before the partial taking, destruction, or loss in value 1s less than the amount of the sums
secured immediately before the partial taking, destruction, or loss in value, unless Borrower and Lender otherwise
agree in writing, the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument whether
or not the sums are then due

If the Property 1s abandoned by Borrower, or 1f, after notice by Lender to Borrower that the Opposing Party (as
defined in the next sentence) offers to make an award to settle a claim for damages, Borrower fails to respond to
Lender within 30 days after the date the notice 1s given, Lender 1s authorized to collect and apply the Miscellaneous
Proceeds either to restoration or repair of the Property or to the sums secured by this Security Instrument, whether
or not then due "Opposing Party" means the third party that owes Borrower Miscellaneous Proceeds or the party
against whom Borrower has a right of action in regard to Miscellaneous Proceeds

Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, m Lender's
judgment, could result in forfe:ture of the Property or other material :mpairment of Lender's interest in the Property
or rights under this Security Instrument Borrower can cure such a default and, if acceleration has occurred, reinstate
as provided in Section 18, by causing the action or proceeding to be dismissed with a ruling that, in Lender's
Judgment, precludes forfeiture of the Property or other material impairment of Lender's interest in the Property or
rights under this Security Instrument The proceeds of any award or claim for damages that are attributable to the
impairment of Lender's interest in the Property are hereby assigned and shall be paid to Lender

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied in the
order provided for in Section 2

11. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for payment or
modification of amortization of the sums secured by this Security Instrument granted by Lender to Borrower or any
Successor in Interest of Borrower shall not operate to release the liability of Borrower or any Successors in Interest
of Borrower Lender shall not be required to commence proceedings agaist any Successor in Interest of Borrower
or to refuse to extend time for payment or otherwise modify amortization of the sums secured by this Security
Instrument by reason of any demand made by the original Borrower or any Successors in Interest of Borrower Any
forbearance by Lender in exercising any right or remedy including, without limitation, Lender's acceptance of
payments from third persons, entities or Successors 1n Interest of Borrower or in amounts less than the amount then
due, shall not be a waiver of or preclude the exercise of any right or remedy

12. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants and agrees
that Borrower's obligations and liability shall be joint and several However, any Borrower who co-signs this Security
Instrument but does not execute the Note (a "co-signer") (a) is co-signing this Security Instrument only to mortgage,
grant and convey the co-signer's interest in the Property under the terms of this Security Instrument, (b) 1s not
personally obligated to pay the sums secured by this Security Instrument, and (c) agrees that Lender and any other
Borrower can agree to extend, modify, forbear or make any accommodations with regard to the terms of this Security
Instrument or the Note without the co- signer's consent

Subject to the provisions of Section 17, any Successor in Interest of Borrower who assumes Borrower's
obligations under this Security Instrument in writing, and 1s approved by Lender, shall obtain all of Borrower's rights
and benefits under this Security Instrument Borrower shall not be released from Borrower's obligations and hiability
under this Security Instrument unless Lender agrees to such release in writing The covenants and agreements of this
Security Instrument shall bind (except as provided in Section 19) and benefit the successors and assigns of Lender

13, Loan Charges. Lender may charge Borrower fees for services performed in connection with Borrower's
default, for the purpose of protecting Lender's interest in the Property and rights under this Security Instrument,
including, but not limited to, attorneys’ fees, property inspection and valuation fees Lender may collect fees and
charges authorized by the Secretary Lender may not charge fees that are expressly prohibited by this Security
Instrument, or by Applicable Law

If the Loan 1s subject to a law which sets maximum loan charges, and that law 1s finally interpreted so that the
interest or other loan charges collected or to be collected in connection with the Loan exceed the permitted limits,
then (a) any such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit,
and (b) any sums already collected from Borrower which exceeded permitted limits will be refunded to Borrower
Lender may choose to make this refund by reducing the principal owed under the Note or by making a direct payment
to Borrower If a refund reduces principal, the reduction will be treated as a partial prepayment with no changes in
the due date or in the monthly payment amount unless the Note holder agrees in writing to those changes Borrower's
acceptance of any such refund made by direct payment to Borrower will constitute a waiver of any right of action
Borrower might have arising out of such overcharge

14, Notices. All notices given by Borrower or Lender in connection with thts Security Instrument must be in
writing Any notice to Borrower in connection with this Security Instrument shall be deemed to have been given to
Borrower when mailed by first class mai] or when actually delivered to Borrower's notice address if sent by other
means Notice to any one Borrower shall constitute notice to all Borrowers unless Applicable Law expressly requires
otherwise The notice address shall be the Property Address unless Borrower has designated a substitute notice address
by notice to Lender Borrower shall promptly notify Lender of Borrower's change of address If Lender specifies a
procedure for reporting Borrower's change of address, then Borrower shall only report a change of address through
that specified procedure There may be only one designated notice address under this Security Instrument at any one
time Any notice to Lender shall be given by delivering it or by mailing it by first class mail to Lender's address stated
herein unless Lender has designated another address by notice to Borrower Any notice in connection with this

 

COLORADO FHA DEED OF TRUST - MERS DocMagic Carrs
CODOTZ2 FHA 09/14/15 Page 6 of 10 * www docmagic com
Case:19-11935-JGR Doc#:13 Filed:04/03/19 Entered:04/03/19 16:23:25 Page21 of 35

Security Instrument shall not be deemed to have been given to Lender until actually recerved by Lender If any notice
required by this Security Instrument 1s also required under Applicable Law, the Applicable Law requirement will
satisfy the corresponding requirement under this Security Instrument

15. Governing Law; Severability; Rules of Construction. This Security Instrument shall be governed by
federal law and the law of the jurisdiction in which the Property 1s located

All rights and obligations contained 1n this Security Instrument are subject to any requirements and limitations
of Applicable Law Applicable Law might explicitly or implicitly allow the parties to agree by contract or 1t might
be silent, but such silence shall not be construed as a prohibition against agreement by contract In the event that any
provision or clause of this Security Instrument or the Note conflicts with Applicable Law, such conflict shall not affect
other provisions of this Security Instrument or the Note which can be given effect without the conflicting provision

As used in this Security Instrument (a) words of the masculine gender shall mean and include corresponding
neuter words or words of the feminine gender, (b) words 1n the singular shall mean and include the plural and vice
versa, and (c) the word "may" gives sole discretion without any obligation to take any action

16. Borrower's Copy. Borrower shall be given one copy of the Note and of this Security Instrument

17, Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 17, "Interest in
the Property” means any legal or beneficial interest in the Property, mcluding, but not limited to, those beneficial
interests transferred in a bond for deed, contract for deed, installment sales contract or escrow agreement, the intent
of which 1s the transfer of title by Borrower at a future date to a purchaser

If all or any part of the Property or any Interest in the Property 1s sold or transferred (or 1f Borrower 1s not a
natural person and a beneficial terest in Borrower 1s sold or transferred) without Lender's prior written consent,
Lender may require immediate payment in full of all sums secured by this Security Instrument However, this option
shall not be exercised by Lender if such exercise 1s prohibited by Applicable Law

If Lender exercises this option, Lender shall grve Borrower notice of acceleration The notice shall provide a
period of not less than 30 days from the date the notice 1s given in accordance with Section 14 within which Borrower
must pay all sums secured by this Security Instrument If Borrower fails to pay these sums prior to the expiration of
this period, Lender may invoke any remedies permitted by this Security Instrument without further notice or demand
on Borrower

18. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions, Borrower shall
have the right to reinstatement of a mortgage Those conditions are that Borrower (a) pays Lender all sums which
then would be due under this Security Instrument and the Note as 1f no acceleration had occurred, (b) cures any default
of any other covenants or agreements, (c) pays all expenses incurred in enforcing this Security Instrument, including,
but not limited to, reasonable attorneys' fees, property inspection and valuation fees, and other fees incurred for the
purpose of protecting Lender's interest in the Property and mghts under this Security Instrument, and (d) takes such
action as Lender may reasonably require to assure that Lender's interest in the Property and rights under this Security
Instrument, and Borrower's obligation to pay the sums secured by this Security Instrument, shall continue unchanged
However, Lender 1s not required to reinstate if (1) Lender has accepted reinstatement after the commencement of
foreclosure proceedings within two years immediately preceding the commencement of a current foreclosure
proceedings, (11) reinstatement will preclude foreclosure on different grounds 1n the future, or (1) reinstatement will
adversely affect the priority of the hen created by this Security Instrument Lender may require that Borrower pay
such reinstatement sums and expenses in one or more of the following forms, as selected by Lender (a) cash, (b)
money order, (c) certified check, bank check, treasurer's check or cashier's check, provided any such check 1s drawn
upon an institution whose deposits are insured by a federal agency, instrumentality or entity, or (d) Electronic Funds
Transfer Upon reinstatement by Borrower, this Security Instrument and obligations secured hereby shall remain fully
effective as if no acceleration had occurred However, this right to reinstate shall not apply in the case of acceleration
under Section 17

19, Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest im the Note
(together with this Security Instrument) can be sold one or more times without prior notice to Borrower A sale might
result in a change 1n the entity (known as the "Loan Servicer") that collects Periodic Payments due under the Note
and this Security Instrument and performs other mortgage loan servicing obligations under the Note, this Security
Instrument, and Applicable Law There also might be one or more changes of the Loan Servicer unrelated to a sale
of the Note If there 1s a change of the Loan Servicer, Borrower will be given written notice of the change which will
state the name and address of the new Loan Servicer, the address to which payments should be made and any other
information RESPA requires in connection with a notice of transfer of servicing If the Note 1s sold and thereafter
the Loan 1s serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing obligations
to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not assumed
by the Note purchaser unless otherwise provided by the Note purchaser

20. Borrower Not Third-Party Beneficiary to Contract of Insurance Mortgage Insurance reimburses Lender
(or any entity that purchases the Note) for certain losses 1t may incur 1f Borrower does not repay the Loan as agreed
Borrower acknowledges and agrees that the Borrower 1s not a third party beneficiary to the contract of insurance
between the Secretary and Lender, nor 1s Borrower entitled to enforce any agreement between Lender and the
Secretary, unless explicitly authorized to do so by Applicable Law

21. Hazardous Substances. As used in this Section 21 (a) “Hazardous Substances" are those substances defined
as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the following substances gasoline,
kerosene, other flammable or toxic petroleum products, toxic pesticides and herbicides, volatile solvents, materials
containing asbestos or formaldehyde, and radioactive materials, (b) "Environmental Law" means federal laws and laws
of the jurisdiction where the Property 1s located that relate to health, safety or environmental protection, (c)
"Environmental Cleanup" includes any response action, remedial action, or removal action, as defined in
Environmental Law, and (d) an "Environmental Condition" means a condition that can cause, contribute to, or
otherwise trigger an Environmental Cleanup

 

COLORADO FHA DEED OF TRUST - MERS DocMaorc CForms
CODOTZ2 FHA 09/14/15 Page 7 of 10 www dotmagic com
Case:19-11935-JGR Doc#:13 Filed:04/03/19 Entered:04/03/19 16:23:25 Page22 of 35

Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous Substances,
or threaten to release any Hazardous Substances, on or in the Property Borrower shall not do, nor allow anyone else
to do, anything affecting the Property (a) that is in violation of any Environmental Law, (b) which creates an
Environmental Condition, or (c) which, due to the presence, use, or release of a Hazardous Substance, creates a
condition that adversely affects the value of the Property The preceding two sentences shall not apply to the presence,
use, or storage on the Property of small quantities of Hazardous Substances that are generally recognized to be
appropriate to normal residential uses and to maintenance of the Property (including, but not limited to, hazardous
substances 1n consumer products)

Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit or other
action by any governmental or regulatory agency or private party involving the Property and any Hazardous Substance
or Environmental Law of which Borrower has actual knowledge, (b) any Environmental Condition, including but not
limited to, any spilling, leaking, discharge, release or threat of release of any Hazardous Substance, and (c) any
condition caused by the presence, use or release of a Hazardous Substance which adversely affects the value of the
Property If Borrower learns, or 1s notified by any governmental or regulatory authority, or any private party, that
any removal or other remediation of any Hazardous Substance affecting the Property ts necessary, Borrower shall
promptly take all necessary remedial actions in accordance with Environmental Law Nothing herein shall create any
obligation on Lender for an Environmental Cleanup

NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows

22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following
Borrower's breach of any covenant or agreement in this Security Instrument (but not prior to acceleration under
Section 18 unless Applicable Law provides otherwise). The notice shall specify: (a) the default; (b) the action
required to cure the default; (c) a date, not less than 30 days from the date the notice 1s given to Borrower, by
which the default must be cured; and (d) that failure to cure the default on or before the date specified in the
notice may result in acceleration of the sums secured by this Security Instrument and sale of the Property. The
notice shail further inform Borrower of the right to reinstate after acceleration and the right to assert in the
foreclosure proceeding the non-existence of a default or any other defense of Borrower to acceleration and sale.
If the default is not cured on or before the date specified in the notice, Lender at its option may require
immediate payment in full of all sums secured by this Security Instrument without further demand and may
invoke the power of sale and any other remedies permitted by Applicable Law. Lender shall be entitled to collect
all expenses incurred in pursuing the remedies provided in this Section 22, cluding, but not limited to,
reasonable attorneys' fees and costs of title evidence.

If Lender invokes the power of sale, Lender shall give written notice to Trustee of the occurrence of an
event of default and of Lender's election to cause the Property to be sold. Lender shall mail a copy of the notice
to Borrower as provided in Section 14 Trustee shall record a copy of the notice in the county in which the
Property is located. Trustee shall publish a notice ot sale for the time and in the manner provided by Applicable
Law and shall mail copies of the notice of sale in the manner prescribed by Applicable Law to Borrower and
to the other persons prescribed by Applicable Law. After the time required by Applicable Law, Trustee, without
demand on Borrower, shall sell the Property at public auction to the highest bidder for cash at the time and
place and under the terms designated in the notice of sale m one or more parcels and mm any order Trustee
determines. Trustee may postpone sale of any parcel of the Property by public announcement at the time and
place of any previously scheduled sale. Lender or its designee may purchase the Property at any sale.

Trustee shall deliver to the purchaser Trustee's certificate describing the Property and the time the
purchaser will be entitled to Trustee's deed The recitals in the Trustee's deed shall be prima facie evidence of
the truth of the statements made therein. Trustee shall apply the proceeds of the sale in the following order: (a)
to all expenses of the sale, including, but not Ismited to, reasonable Trustee's and attorneys’ fees; (b) to all sums
secured by this Security Instrument; and (c) any excess to the person or persons legally entitled to it.

23. Release. Upon payment of all sums secured by this Security Instrument, Lender shall request that Trustee
release this Security Instrument and shall produce for Trustee, duly cancelled, all notes evidencing debts secured by
this Security Instrument Trustee shall release this Security Instrument without further inquiry or hability Borrower
shall pay any recordation costs and the statutory Trustec's fees

24, Waiver of Homestead. Borrower waives all right of homestead exemption mn the Property

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COLORADO FHA DEED OF TRUST - MERS DocMagic CForms
CODOTZ2 FHA 09/14/16 Page 8 of 10 www deemagic com
Case:19-11935-JGR Doc#:13 Filed:04/03/19 Entered:04/03/19 16:23:25 Page23 of 35

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this Security
Instrument and in any Rider executed by Borrower and recorded with it.

  
    

ANCA BoA FP (Seal)

 

 

 

 

 

 

 

(Seal)
Richard Glenn McNeal III -Borrower chel Eloise Gonser -Borrower
(Seal) (Seal)
-Borrower -Borrower
(Seal) (Seal)
-Borrower -Borrower
Witness: Witness:
COLORADO FHA DEED OF TRUST - MERS DocMagic @Forms

CODOTZ2.FHA 09/14/15 Page 9 of 10 www. docmagic.com
 

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State of _ COLORADO

Tatil Daal 300

The foregoing instrument was acknowledged before me this :
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by Richard Glenn McNeal III AND Rachel Eloise Gonser
\ (|
{name of person Wy |
: (Signature of Person Taking Acknowifilgment)
CHRISTINE DAWN HOPPER
NOTARY PUBLIC e O
STATE OF COLORADO
NOTARY ID 20124070882 (Title or Rank)
MY COMMISSION EXPIRES 11/01/2020

 

 

 

(Seai) (Serial Number, if any)

 

CHRISTINE DAWN HOPPER
NOTARY PUBLIC
STATE OF COLORADO
NOTARY ID 20124070882
MY COMMISSION EXPIRES 11/01/2020

 

 

 

Loan Originator: Beverly Creswell, NMLSR ID 301804

Loan Originator Organization: Envoy Mortgage, Ltd., NMLSR ID 6666
COLORADO FHA DEED OF TRUST - MERS Docm: CForme
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Electronically Recorded Official Records El Paso County CO
Chuck Broerman, Clerk and Recorder

TD1000 ~=N

WHEN RECORDED, RETURN TO CHEA - Loan Servicing A, 1981 Blake Street, Denver, Colorado
80202 ATTN: POST-CLOSING

ASSIGNMENT OF DEED OF TRUST

For value received, Mortgage Electronic Registration Systems, Inc. as nominee for, Envoy Mortgage, LTD
, Its successors and assigns, the beneficiary of the deed of trust hereinafter described ("Deed of Trust”),

hereby assigns and transfers to Colorado Housing and Finance Authority, its successors and assigns, of
all its right, title and interest in and to the Deed of Trust executed by Richard Glenn McNeal III an
unmarried man, and Rachel Eloise Gonser an unmarried woman as tenants in common for the benefit
of Mortgage Electronic Registration Systems, Inc., as nominee for Envoy Mortgage, LTD, its successors
and assigns dated 12/19/2017 and recorded on 12/21/2017 in the office of the Clerk and Recorder of El

Paso , State of Colorado at Reception# , 217154042 with respect to the property also known by street and
number as:

2333 E Willamette Ave Colorado Springs, CO 80909

Date: 03/20/2019

Mortgage Electronic Registration Systems, Inc.

( _

Dolores Higgins, Assistant Secretary

 

State of Colorado, }
County of Denver}SS:

The foregoing Assignment of Deed of Trust was acknowledged before me, on 03/20/2019 by Dolores

Higgins , Assistant Secretary of Mortgage Electronic Registration Systems, Inc., on behalf of said
corporation.

My commission expires: 12/09/2020 , Me “en ete eo

 

Notary Public Alejandro Casillas

 

ALEJANDRO CASILLAS
NOTARY PUBLIC

STATE OF COLORADO
NOTARY ID 20044034855
MY COMMISSION EXPIRES DECEMBER 9, 2020

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Lenders Loan Number]
MIN: IMERS Phone#: 888-679-6377

P.O. Box 2026, Flint, MI 48501-2026
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BR MAN W P-TYPE 1 INT .oS00000 FIRST PB 184,505.52 2ND PB 00
HY .00 NET 1872.83 8F .00500000 susp 00 STOP DBPFNADL
RED 00 BES on eoog0ose5o1
APP n5-80 n5-18 o5-16 05-02 n4-18
SEG# / DUE 05-18 05-18 o5-12 01-19 n4-18
TYPE /TRAN B 12 1 78 1 52 2 10 1 72
AMCUNT 465_61- 1,849.44 oo 1z9_00- 1,249_00
PRIN-PD oo 226.97 on oo 226.08
PRIN-BAL 185, 654_6 165, 654.65 185, 881_62 185, 881_62 185, 881.62
INT- BED oO 77451 00 oo 77545
ESC-PD 465_61- 246_96 00 125_00- 246.96
ESC-BAL 594_61 1,060.22 718.26 71326 a42.26
ASH-INS oo 00 00 oo 00
LIFE-INS ad mele) mle) oo od
Lc/ FEES ad on 4 40_06- oo 4 56
MISC-PD ad on 00 oo oo
ADY-BAL oa oo 00 oo oo
SUSE oo on 00 oo oo
SC/ PAYEE o5o41 “ F_H.A. “

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Case:19-11935-JGR Doc#:13 Filed:04/03/19 Entered:04/03/19 16:23:25 Page33 of 35

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TYPE /TRAN

AMOUNT
PRIN-PD
PRIN-BAL
INT-FD
ESC-Po
ESC-BaL
ASH-INS
LIFE-INS
LC/FEES
MISC-Po
W-BAL
SUSP
SC/ PAYEE

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MAN W B-TYPE 1 INT
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NET 1572.83 4F
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HOBRTGAGE LOAN HISTORY

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Case:19-11935-JGR Doc#:13 Filed:04/03/19 Entered:04/03/19 16:23:25 Page34 of 35

pais i MORTGAGE LOAN HISTORY 08-19-19

NAME &G MCNEAL I Inv-L QB -01-18 Tver ii
BR MAN W P-TYPE 1 INT .OS00000 FIRST PB 184,505.52 2ND PB 00
HY .00 NET 1872.83 SF .00800000 susp 00 STOP DABPFNADL
RED 00 BES on eoo0oses5o1
APP n3-nz nz-06 nz-06

SEG# / DUE o1-19 n8-18 ng-18

TYPE /TRAN & 10 1 70 1 42

AMOUNT 129_00- 406.22 o0

PRIN-PD oo on 186, 388.85-

PRIN-BAL 186, 888.85 186, 888-85 186, 888.85

INT-PD oo on 00

ESC-PD 129_n0- 406.88 00

ESC-BAL 27788 406.88 on

ASH-INS oo 00 00

LIFE-INS oo mele) od

LC FEES og on O00

MISC-PD oo on 00

W-BAL oo oo 00
SUSE oo on 00
SC/ PAYEE F_H.A.

PAGE OOOF“O3 OF OOOO0S TRANS AVATLABLE 45 OLDEST TRAN 02-06-18 /P
Case:19-11935-JGR Doc#:13 Filed:04/03/19 Entered:04/03/19 16:23:25 Page35 of 35

pais i MORTGAGE LOAN HISTORY 08-19-19

NAME &G MCNEAL I Inv-L QB -01-18 Tver ii
BR MAN W P-TYPE 1 INT .OS00000 FIRST PB 184,505.52 2ND PB 00
HY .00 NET 1872.83 SF .00800000 susp 00 STOP DABPFNADL
RED 00 BES on eoo0oses5o1
APP n3-nz nz-06 nz-06

SEG# / DUE o1-19 n8-18 ng-18

TYPE /TRAN & 10 1 70 1 42

AMOUNT 129_00- 406.22 o0

PRIN-PD oo on 186, 388.85-

PRIN-BAL 186, 888.85 186, 888-85 186, 888.85

INT-PD oo on 00

ESC-PD 129_n0- 406.88 00

ESC-BAL 27788 406.88 on

ASH-INS oo 00 00

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LC FEES og on O00

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SC/ PAYEE F_H.A.

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